Case 8:17-cv-00210-TPB-JSS Document 40 Filed 10/04/18 Page 1 of 3 PageID 156




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

KARIN ANFINSON, on her own
behalf and others similarly situated,

                 Plaintiff,
V.                                                                   Case No.: 8:17-cv-00210-EAK-JSS


TRUE BLUE OF PINELLAS, INC., and
FRANCESE. WELT in her individual capacity,

                 Defendants.



                                                   ORDER
        Before the Court is Plaintiffs Motion for Attorneys' Fees and Costs ("Motion"). (Doc. 39).

The Motion is due to be denied without prejudice.


        Plaintiff filed a complaint against Defendant True Blue of Pinellas, Inc. and Defendant

Frances E. Welt on January 26, 2017, which alleged unpaid overtime compensation under the Fair

Labor Standards Act (Count I), unpaid minimum wages per Article X, Section 24 of the Florida

Constitution (Count II), and unpaid wages pursuant to Chapter 448 of the Florida Statutes (Count

III). (Doc. 1). Plaintiff thereafter filed an Amended Motion for Default Judgment against

Defendants, which was referred to the Magistrate Judge. (Docs. 20, 26). On September 14, 2018,

the Court entered an Order adopting the Magistrate Judge's Report and Recommendations. (Doc.

36). Pursuant to the Order, partial default judgement was entered against Defendant True Blue of

Pinellas, Inc. on Count One in the amount of $14,400 plus post-judgment interest. (Docs. 36, 3 8). 1

The Order explained that the Court will enter final judgment after Plaintiff "moves for, and


1 The Order also dismissed with prejudice the claims against Defendant Frances E. Welt and directed the Clerk to

terminate Frances E. Welt as a defendant in this action. (Doc. 35).
Case 8:17-cv-00210-TPB-JSS Document 40 Filed 10/04/18 Page 2 of 3 PageID 157

                                                                  Case No.: 8: l 7-cv-00210-EAK-JSS


receives, default judgment on Counts II and III or voluntarily dismisses those counts." (Doc. 36).

As for attorney's fees and costs, the Order explicitly stated that Plaintiff "is directed to file a motion

for attorney's fees and costs within fourteen days of the entry of final judgment." (Doc. 36)

(emphasis added). Plaintiff filed her Motion on October 2, 2018, but she has yet to (1) move for,

and receive, defaultjudgment on Counts II and III; or (2) move to dismiss those counts. (Doc. 39).

Through her Motion, Plaintiff seeks to recover attorney's fees and costs in the amount of $7,510

pursuant to the fee-shifting provisions of the Fair Labor Standards Act. Id. Because Plaintiff has

failed at this juncture to move for, and receive, default judgment on Counts II and III, or voluntarily

dismiss those counts, Plaintiffs Motion is premature and contrary to the directives in the Court's

Order.

         In addition to being premature and contrary to the Court's directives, Plaintiffs Motion

improperly requests attorney's fees. The Fair Labor Standards Act provides that in an action

against an employer by an employee for enforcement of§ 206 or § 207 of the Act, the Court "shall,

in addition to any judgment awarded to the plaintiff or plaintiffs, allow a reasonable attorney's fee

to be paid by the defendant, and costs of action." 29 U.S.C. "§ 216(b). The United States Supreme

Court has explained, "The most useful starting point for determining the amount of a reasonable

fee is the number of hours reasonably expended on the litigation multiplied by a reasonable hourly

rate." Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). "The fee applicant bears the burden of

establishing entitlement and documenting the appropriate hours and hourly rates." Am. Civil

Liberties Union ofGeorgia v. Barnes, 168 F.3d 423,427 (11th Cir. 1999) (citing Norman v. Hous.

Auth. of City ofMontgomery, 836 F.2d 1292, 1299 (11th Cir. 1988)) (internal quotations omitted).

The applicant for attorney's fees "must produce satisfactory evidence that the requested rate is

within the prevailing market rates and supports the number of hours worked and the rate sought."


                                                    2
Case 8:17-cv-00210-TPB-JSS Document 40 Filed 10/04/18 Page 3 of 3 PageID 158

                                                               Case No.: 8:l 7-cv-00210-EAK-JSS


Bodde v. Ml-DE, Inc., No. 6:08-cv-880-Orl-28KRS, 2009 WL 3233481, at *3 (M.D. Fla. Oct. 2,

2009) (citing Hensley, 461 U.S. at 433). The applicant "should present records detailing the

amount of work performed, in which the general subject matter oftirrie expenditures should be set

out with sufficient particularly that the court can assess time claimed for each activity." Carithers

v. Mid-Continent Cas. Co., No. 3:12-cv-890, 2015 WL 12841075, at *2 (M.D. Fla. Nov. 13, 2015)

(citing George v. GTE Directories Corp. 114 F. Supp. 2d 1281, 1290 (M.D. Fla. 2000)).


       Here, Plaintiff seeks to recover attorney's fees and costs in the total amount of $7,510.

Although she has provided the mathematical calculation for this amount, the Motion fails to

provide any evidence demonstrating that the requested amount is reasonable. To the extent that

Plaintiff seeks to recover attorney's fees and costs in this action, evidence demonstrating the

reasonableness of the sought amount must accompany the request.


       Accordingly, it is hereby ORDERED that Plaintiffs Motion for Attorneys' Fees and Costs

is DENIED WITHOUT PREJUDICE, with leave for Plaintiff to file an amended motion

consistent with this Court's prior Order and this Order.
                                                                             ,t(_
       DONE and ORDERED in Chambers, in Tampa, Florida t h i s ~ day of October, 2018.




                                                  3
